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                                  UNITED STATES DISTRICT COURT
 6                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
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 8   JENNYL CALUGAS,                                      NO. 2:15-cv-01332-RAJ
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                             Plaintiff,
10
                  vs.
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     PATENAUDE & FELIX, APC, a California
12   Corporation; and MATTHEW CHEUNG, and
13   individual,
                                                          THIRD-PARTY DEFENDANT LAW
14                           Defendants.                  OFFICES OF ANTOINETTE M. DAVIS,
                                                          PLLC’S MOTION TO DISMISS UNDER
15                                                        FED. R. CIV. P. 12(b)(6)
     PATENAUDE & FELIX, APC,
16                                                        NOTE ON MOTION CALENDAR:
17                           Third-Party Plaintiff,       December 18, 2015

18                vs.
19   LAW OFFICES OF ANTOINETTE M.
20   DAVIS, PLLC,

21                           Third-Party Defendant.

22
                                             I. RELIEF REQUESTED
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             Third-party defendant Law Offices of Antoinette M. Davis (“Davis Law”) requests that
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     the Court dismiss third-party plaintiff Patenaude & Felix’s (“P&F”) complaint with prejudice.
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             1.      Consumer Protection Act (“CPA”) claim. P&F fails to set forth sufficient facts to
26   state a plausible CPA claim and fails to identify a cognizable CPA theory. Washington law does
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     Third-Party Defendant Law Offices of Antoinette M.
     Davis’ Motion to Dismiss (2:15-cv-01332-RAJ) - 1
     not recognize CPA claims against an opposing party’s attorney. Thus, there exists no cognizable
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     CPA theory. Moreover, even if Washington had recognized such claims, Davis Law’s alleged
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     actions that P&F challenges do not concern the entrepreneurial aspects of the practice of law,
 3   and are hence not in trade or commerce, and involve only a private dispute that does not affect
 4   the public interest. Therefore, the actions do not implicate the CPA.
 5           2.         Declaratory relief. P&F fails to set forth sufficient facts to state a plausible claim

 6   for declaratory relief. It fails to state a plausible CPA claim upon which to base a substantive
     right to demand that Davis Law cease faxing documents to P&F’s California office or that
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     Davis Law mail documents that it states it mailed. Nor does it plead other facts or law that
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     establish such rights.1
 9           3.         Judicial notice. Davis Law requests that the Court take judicial notice under Fed.
10   R. Evid. 201 of three King County Superior Court orders attached as Exhibit 2 to the
11   Declaration of Scott David Smith. See Dkt. # 26 (Smith Decl.) Ex. 2. The orders are not subject

12   to reasonable dispute because they are public records and “can be accurately and readily
     determined from sources whose accuracy cannot be reasonably questioned.” Fed. R. Evid. 201.
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                                                      II. FACTS2
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             Davis Law represents and provides legal services to debtors in Washington; this includes
15   prosecuting Fair Debt Collections Practices Act (“FDCPA”) actions for clients against debt
16   collectors. Dkt. # 14 (Third-Party Compl.) at 18-19 ¶¶ 1.2, 3.1-3.2, 3.5. As with most firms, it
17   provides its services to obtain and retain clients for profit. Id. at 18-19 ¶ 3.3-3.4. P&F is a

18   corporation that does business in Washington and sues debtors to collect debts. Id. at 18 ¶ 1.1.
     Davis Law and P&F have been on opposing sides of legal disputes on more than one occasion.
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     Id. at 19 ¶ 3.7.
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             The current action arises from a 2014 lawsuit P&F filed against Jennyl Calugas in King
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     County Superior Court. Id. at 20 ¶¶ 3.14-3.15. On August 20, 2014, P&F served an unfiled
22   summons and complaint on Ms. Calugas concerning a debt P&F claimed Ms. Calugas owed.
23   Id. at 20 ¶ 3.14. P&F alleges it received no answer or appearance by October 8, 2014 and thus
24   prepared and sent for filing a motion for default. Id. at 20 ¶ 3.15. Though it claims the process

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       Davis Law does not by making this motion admit that P&F’s allegations that Davis Law improperly provided
26   notice to P&F in P&F’s state court action against first-party plaintiff Jennyl Calugas are true.
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       Though Davis Law disputes many of P&F’s factual allegations, it presents a factual recitation as set forth by
     P&F’s complaint under Fed. R. Civ. P. 12(b)(6) principles.
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     Third-Party Defendant Law Offices of Antoinette M.
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     server held but did not file the document for several weeks, id. at 20 ¶ 3.15, P&F provides no
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     assertion as to why it never followed up with the process server.
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             Ms. Calugas hired Davis Law. See id. at 21 ¶ 3.22. On November 5, 2014, Davis Law
 3   faxed a letter notice of representation to P&F’s California office. Id. at 20 ¶ 3.16. P&F now
 4   alleges Davis Law did so despite knowing the proper recipient was P&F’s registered agent in a
 5   Washington office, knowing the proper phone number and address, and knowing that faxing

 6   the document to California would not provide P&F proper notice. Id. at 19-20 ¶¶ 3.8-3.11, 3.14,
     3.16, 3.18. It also asserts that, though Davis Law stated it also sent the letter to the Washington
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     address, P&F never received the letter and one was not sent. Id. at 21 ¶ 3.20.3 The letter notice
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     of representation was however addressed to the recipient and address noted on P&F’s state-
 9   court complaint. Dkt. # 26 Ex. 1.4
10           P&F filed the complaint in superior court on November 13, 2014, id. Ex. 1, and
11   obtained a default judgment against Ms. Calugas on November 17. Id. Ex. 2. The superior court

12   later vacated the default judgment, id. Ex. 2, and ordered P&F to pay $5,000 in costs. Id. Ex. 2.
     On August 19, 2015, Davis Law instituted this action against P&F, in part, for litigating the
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     King County Superior Court action against Ms. Calugas while knowing Davis Law represented
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     Ms. Calugas. Dkt. # 14 at 21 ¶ 3.22. P&F now bases its claims on its conclusory allegations,
15   which are not factually supported, that Davis Law sent the letter notice of representation to the
16   California fax machine to deprive P&F of notice so that P&F would wrongfully take a default
17   judgment, allowing Davis Law to initiate an FDCPA claim to obtain clients and a profit. Id. at

18   21-22 ¶¶ 3.21, 4.5. This is despite the fact Ms. Calugas was already Davis Law’s client.

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       P&F asserts that Davis Law could have provided notice to P&F by email but asserts Davis Law chose not to do
     so in order to deprive P&F of proper notice. Dkt. # 14 at 20 ¶ 3.17. However, P&F acknowledges there was no
21   nefarious reason for Davis Law not emailing P&F: Davis Law makes it a regular practice not to correspond with
     opposing counsel by email. Id. at 19 ¶ 3.6.
     4
       “The court may consider documents outside the pleadings on a 12(b)(6) motion if they are incorporated by
22   reference into the complaint, form the basis of the plaintiff’s claims, or are matters of judicial notice, without
     converting the motion to a Rule 56 motion for summary judgment.” Demmings v. Pac. Mar. Ass’n, No. C11-1864,
23   2012 U.S. Dist. LEXIS 139768, at *1 n.1 (W.D. Wash. Sept. 26, 2012) (emphasis added) (citing United States v.
     Ritchie, 342 F.3d 903, 908 (9th Cir. 2003)). Attached to the Declaration of Scott David Smith as Exhibit 1 are (1)
     the letter notice of representation, which P&F includes as Exhibit 1 to its third-party complaint, see Dkt. # 14 ¶
24   3.16 & Ex. 1, and the first page of P&F’s state-court complaint that P&F references in its third-party complaint as
     containing “the correct name, address, and telephone number for” P&F. Id. at 19-20 ¶¶ 3.9, 3.14. Attached to the
25   declaration as Exhibit 2 are three superior court orders from P&F’s state-court action against Ms. Calugas. Dkt. #
     26 Ex. 2. Davis Law has requested in this motion that the Court take judicial notice of the orders as matters of
26   public record. A court’s orders are subject to such notice. Reusser v. Wachovia Bank, 525 F.3d 855, 857 n.1 (9th
     Cir. 2008). Moreover, Washington law specifically permits trial courts to rely on unpublished federal and state
     trial-court orders. Oltman v. Holland Am. Line, 163 Wn.2d 236, 247 (2008); GR 14.1(b); Fed. R. App. P. 32.1.
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     Third-Party Defendant Law Offices of Antoinette M.
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             P&F further alleges that, after the November 5, 2014 letter notice of representation and
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     after P&F had already taken the default judgment giving rise to the FDCPA claim, Davis Law
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     sent various faxes to California or an incorrect Washington fax number, aware the faxes would
 3   not provide P&F timely notice, and that Davis Law did not in fact send letters by US mail as it
 4   claimed it had. Id. at 19-20 ¶¶ 3.12-3.13, 3.18. However, it also appears to claim that after the
 5   faxed letter notice of representation, Davis Law in fact sent faxes to an incorrect Washington

 6   fax number, no longer a California number. Id. at 20 ¶ 3.19. In either event, P&F does not
     indicate what relevance the allegedly misserved communications, which occurred after P&F
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     took the default judgment, have to its claim that Davis Law improperly served P&F to fabricate
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     the FDCPA claim. Davis Law now moves to dismiss P&F’s claims.
 9                                               III. ARGUMENT
10           A plaintiff cannot survive a motion to dismiss unless its complaint contains “sufficient
11   factual matter, accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v.

12   Iqbal, 556 U.S. 662, 678 (2009). A claim is only “plausible on its face” when “the plaintiff
     pleads factual content that allows the court to draw the reasonable inference that the defendant
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     is liable for the misconduct alleged.” Id. Dismissal is proper when the complaint fails to make
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     out a cognizable legal theory or does not allege sufficient facts to support a cognizable theory.
15   Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th Cir. 2008).
16           Complaints alleging only “labels and conclusions” or a “formulaic recitation of the
17   elements of a cause of action” will not survive. Bell Atl. v. Twombly, 550 U.S. 544, 555 (2007).

18   Courts must discount conclusory statements of fact, “which are not entitled to the presumption
     of truth”, Chavez v. United States, 683 F.3d 1102, 1108 (9th Cir. 2012) (citing Iqbal, 556 U.S.
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     at 678); Blantz v. Cal. Dep’t of Corr., 727 F.3d 917, 926-27 (9th Cir. 2013), before deciding
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     whether a claim is plausible. The goal is to “weed out” meritless claims early, “at the point of
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     minimum expenditure of time and money by the parties and the court.” Twombly, 550 U.S. at
22   558-59. Here, P&F’s complaint neither sets forth sufficient facts to state a plausible claim nor
23   identifies a cognizable theory under the CPA or for declaratory relief; thus, dismissal is proper.
24           A.      P&F fails to state a CPA claim. Washington’s CPA prohibits “[u]nfair methods
     of competition and unfair or deceptive practices in the conduct of any trade or commerce.”
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     RCW 19.86.020. A CPA claim only lies where a plaintiff demonstrates there exists (1) an unfair
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     or deceptive act or practice; (2) in trade or commerce; (3) which affects the public interest; and
27
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     (4) proximately causes injury to the plaintiff in his or her business or property. Hangman Ridge
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     Training Stables v. Safeco Title Ins. Co., 105 Wn.2d 778, 784-85 (1986).5
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              1.       Washington law does not authorize a CPA claim against an opposing attorney.
 3   Washington law does not recognize CPA claims against an opposing party’s attorney, Jeckle v.
 4   Crotty, 120 Wn. App. 374, 383-85 (2004), as “allowing a plaintiff to sue his or her adversary’s
 5   attorney under a consumer theory infringes on the attorney-client relationship.” Id. at 384.6 The

 6   Jeckle court, quoting the Connecticut Supreme Court’s disapproval of such claims under the
     Connecticut version of the CPA, elaborated:
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              “Providing a private cause of action under CUTPA to a supposedly aggrieved party for
 8            the actions of his or her opponent’s attorney would stand the attorney-client relationship
              on its head and would compromise an attorney’s duty of undivided loyalty to his or her
 9            client and thwart the exercise of the attorney’s independent professional judgment on his
              or her client’s behalf.”
10   Id. at 384-85 (quoting Suffield Dev. Assocs. v. Nat’l Loan Investors, LP, 260 Conn. 766, 781-82
11   (2002)). Following Connecticut, the court in Jeckle held that an attorney’s client’s opponent
12   may not sue the attorney under the CPA “‘on the basis of the professional services the attorney

13   had rendered for the client.’” Id. at 384 (quoting Larsen Chelsey Realty Co. v. Larsen, 232
     Conn. 480, 496 (1995)); see also id. at 385 (affirming grant of 12(b)(6) motion despite the fact
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     the challenged conduct related to both the entrepreneurial aspects and the legal aspects of the
15
     defendants’ law practice).
16
              Here, P&F has attempted to state a claim against Davis Law based solely on Davis
17   Law’s method of representing Ms. Calugas in a matter directly opposed to P&F and based upon
18   professional services Davis Law rendered Ms. Calugas. Thus, under Jeckle, P&F has failed to

19   identify a cognizable cause of action.

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       By challenging the “trade or commerce” and “public interest” aspects of the CPA in this motion, Davis Law does
     not concede that P&F’s allegations satisfy any of the other elements.
22   6
       The Jeckle bar to such an action is not the same as the “adversarial exemption” the Supreme Court disapproved
     in Panag v. Farmers Ins., 166 Wn.2d 27, 43-44 (2009). In Panag, which involved plaintiffs’ actions a collection
23   agency and insurers that hired it to collect on unadjudicated UIM subrogation claims, id. at 34-36, the Supreme
     Court determined that there need not be a consumer or contractual relationship to establish a CPA claim; thus,
     even if two parties are adversarial, a CPA claim may lie. Id. at 42-44. Panag did not concern a suit against an
24   opposing party’s attorney, did not decide the specific issue here, and was not faced with the issue of the assault on
     the attorney-client relationship such claims engender. Nevertheless, the Western District of Washington in
25   Seyfarth v. Reese Law Grp., No. C09-5727BHS, 2010 U.S. Dist. LEXIS 77217 (W.D. Wash. July 7, 2010),
     permitted an action against an opposing debt-collector attorney in 2010. Though it cited both Jeckle and Panag, it
26   did not state Panag overruled Jeckle, but it allowed the suit because the plaintiff challenged the attorney’s pattern
     and practice of misrepresenting his fees, thus distinguishing the case from Jeckle. Id. at *13-15 (holding also that,
     because that action involved the issue of fees, entrepreneurial aspects were involved, which is not the case here).
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             2.       Even had Washington law recognized a CPA claim against an opposing attorney,
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     P&F fails to state a CPA claim as the alleged conduct P&F challenges does not concern
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     entrepreneurial aspects of the practice of law. The practice of law falls almost exclusively
 3   outside the CPA’s definition of trade or commerce. See Eriks v. Denver, 118 Wn.2d 451, 463-
 4   64 (1992). By narrow exception, CPA claims may exist against an attorney’s actions, in some
 5   situations, as occurring in trade or commerce only when the allegedly violative conduct

 6   concerns “certain entrepreneurial aspects of the practice of law”. Short v. Demopolis, 103
     Wn.2d 52, 60-61 (1984);7 but see Jeckle, 120 Wn. App. at 383-85 (holding no CPA claim exists
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     against an opposing party’s attorney). The entrepreneurial aspects of the practice of law include
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     “how the price of legal services is determined, billed, and collected and the way a law firm
 9   obtains, retains, and dismisses clients.” Short, 103 Wn.2d at 61; id. at 53-54; Quinn v. Connelly,
10   63 Wn. App. 733, 742 (1992).
11           An attorney’s competency and strategy are not entrepreneurial aspects of the practice of

12   law. Eriks, 118 Wn.2d at 464 (citing Short, 103 Wn.2d at 61-62); Quinn, 63 Wn. App. at 742;
     Short, 103 Wn.2d at 61. Here, all of P&F’s relevant, non-conclusory factual allegations concern
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     Davis Law’s alleged method and strategy of representing its client, Ms. Calugas, and its method
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     and tactics used in serving its notice of appearance. See Dkt. # 14 at 19-21 ¶¶ 3.8-3.13, 3.16-
15   3.20. P&F in fact states only two “trade-or-commerce allegations” that attempt to paint Davis
16   Law’s alleged actions as entrepreneurial. Id. at 21 ¶ 3.21 (“Upon information and belief, Davis
17   [Law] conducted these unfair and deceptive [service] acts and practices8 for the purpose of

18   fabricating a[n] FDCPA lawsuit against [P&F], and thereby obtaining additional business for
     itself.”); id. 22 ¶ 4.5 (“Davis[ Law’s] actions occurred in trade or commerce because Davis
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     [Law] used its conduct for the purpose of obtaining and/or retaining clients, which implicates
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     the entrepreneurial aspects of the business.”). However, both of the allegations are conclusory,
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     naked factual assertions, and should not be considered in deciding if a plausible claim exists.
22   Chavez, 683 F.3d at 1108, 1110 (“The Court discounts, as it must, the plaintiffs’ wholly
23   conclusory allegation that the supervisory defendants ‘personally reviewed and, thus, knowingly
24   ordered, directed, sanctioned or permitted’ the allegedly unconstitutional stops.”).

25   7
       It is worth noting that the Washington Supreme Court in Short, like the Jeckle court, also cited to Connecticut
     law. Short, 103 Wn.2d at 60-61 (citing Heslin v. Conn. Law Clinic, 190 Conn. 510 (Sup. Ct. Conn. 1983)).
     8
26     P&F’s assertions that Davis Law’s alleged service actions are unfair and deceptive is a legal conclusion, Panag,
     166 Wn.2d at 47 (citing Leingang v. Pierce Cty Med. Bureau, 131 Wn.2d 133, 150 (1997)), that is not entitled to
     the presumption of truth.
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             None of the other facts stated in the complaint support P&F’s two allegations. At most,
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     P&F has otherwise alleged that Davis Law engages in the practice of law for a profit, including
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     by assisting clients with FDCPA claims, and that it improperly served one relevant document.9
 3   It states no facts showing that, because Davis Law practices law for a profit and allegedly
 4   misserved its notice of appearance knowing it would not provide P&F proper notice, Davis Law
 5   thus intended that P&F would wrongfully take a default judgment against Davis Law’s own

 6   client so as to “fabricate” an FDCPA claim to obtain and retain clients and a profit. Blantz, 727
     F.3d at 922 (noting courts “need not accept as true factual allegations that are not plausible on
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     their face”). In fact, Ms. Calugas was already Davis Law’s client.
 8
             Moreover, P&F has not alleged that Davis Law has taken this approach in the past to
 9   “fabricate” FDCPA claims for clients or profit – against P&F or any other debt collector – has
10   taken this approach on a routine basis to create FDCPA claims for clients or profit, advertised or
11   made known to potential or current clients that it could “create” such claims, or otherwise had a

12   pattern of attracting business or making profit by creating FDCPA claims in such a fashion.
     P&F has not even alleged this particular situation has previously occurred on any occasion.
13
     Without supporting factual allegations, P&F’s two conclusory “trade-or-commerce allegations”
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     fail to support a claim. Id. at 926-27 (“A complaint will not survive a motion to dismiss if it
15   ‘tenders naked assertions devoid of further factual enhancement.’”); Terrell v. JPMorgan Chase
16   Bank, No. C14-930, 2014 U.S. Dist. LEXIS 151291, at *4-5 (W.D. Wash. Oct. 23, 2014).10
17           Discounting both conclusory, factually unsupported “trade-or-commerce allegations”,

18   P&F has stated no factual assertions that plausibly, or remotely, suggest Davis Law served P&F
     in California to “fabricate” FDCPA claims to retain clients or for profit. Rather, P&F’s
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20   9
       While P&F asserts Davis Law sent a number of communications to either California or the wrong fax number in
     Washington, the only relevant communication to Ms. Calugas’ FDCPA claim is the notice of representation. The
21   remaining communications P&F claims Davis Law incorrectly faxed or mailed to P&F appear to have occurred
     after P&F took its improper default, form no basis for Ms. Calugas’ claim against P&F, and could not have been
     sent to “fabricate” the claim. Thus this claimed “pattern” of missending documents is irrelevant.
22   10
        Judge Pechman recently addressed necessary factual allegations in denying a motion to amend a complaint to
     overcome a Rule 12(b)(6) motion: “Plaintiff’s factual clarifications in the proposed amended complaint . . . are
23   limited to conclusory allegations that ‘[u]pon information and belief, from the inception [o]f Chase servicing
     Plaintiff’s loan account to [the] date of this Complaint, Chase has misapplied credits to Plaintiff’s loan account
     which does not reflect Plaintiff’s true and accurate account balance,’ and that Chase charged Plaintiff fees that
24   were not owed. Plaintiff provides no actual facts, however, upon which these allegations can rest. Plaintiff’s
     proposed amended complaint does not state which payments were misapplied on which dates, does not state the
25   amounts that were misapplied, and does not state the reason she believes payments were not properly credited.
     Plaintiff does not state when fees were improperly charged, what the amounts of the fees were, or how or why
26   Plaintiff believes improper fees have been charged. Without these basic details, Defendants are not properly on
     notice of the claims against them, and Plaintiff’s proposed amendment fails to state a plausible claim for relief.”
     Terrell, 2014 U.S. Dist. LEXIS 151291, at *4-5 (internal citations omitted).
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     allegations go to Davis Law’s alleged strategy and method of representing its client through
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     serving its notice of appearance.11
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             3.       Even had Washington law recognized a CPA claim against an opposing attorney
 3   and P&F stated allegations that could plausibly show Davis Law’s actions were entrepreneurial,
 4   its claims involve a private dispute that does not affect the public interest. The CPA requires
 5   that P&F show that Davis Law’s claimed actions affect the public interest. See Short, 103

 6   Wn.2d at 66; Behnke v. Ahrens, 172 Wn. App. 281, 290 (2012) (“To meet the ‘public interest’
     element, a private plaintiff must show ‘not only that a defendant’s practices affect the private
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     plaintiff but that they also have the potential to affect the public interest.” (quoting Indoor
 8
     Billboard Wash. v. Integra Telecom, 162 Wn.2d 59, 74 (2007)).
 9           Where the transaction was essentially a private dispute rather than essentially a
             consumer transaction, it may be more difficult to show that the public has an interest in
10           the subject matter. Ordinarily, a breach of a private contract affecting no one but the
             parties to the contract is not an act or practice affecting the public interest. This is often
11           the case with legal services, which are not within trade or commerce except as they
             relate to the entrepreneurial aspects of the practice of law. It is the likelihood that
12           additional plaintiffs have been or will be injured in exactly the same fashion that
             changes a factual pattern from a private dispute to one that affects the public interest.
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     Id. at 293 (emphasis added) (internal citations omitted). Thus, “there must be shown a real and
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     substantial potential for repetition, as opposed to a hypothetical possibility of an isolated unfair
15   or deceptive act’s being repeated.” Id. at 295 (citing Michael v. Mosquera-Lacy, 165 Wn.2d
16   595, 604-05 (2009)). None of P&F’s allegations indicate such is the case here.
17           In Behnke, the plaintiffs brought suit against their former attorney for failing to disclose

18   the extent of his business relationship with a company whose tax shelter he recommended.
     Affirming summary judgment dismissing the plaintiffs’ CPA claim, the court held that the
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     plaintiffs’ evidence and argument did not establish their claim of repetitive non-disclosure:
20
     “[The evidence and argument] establishes that [the attorney] represented other clients with
21   respect to the controversial tax strategy, but it does not establish that the alleged deceptive act –
22   failure to disclose aspects of his continuing financial relationship with [the company] – was
23   repeated with these other clients [the attorney represented] or was likely to be repeated with

24   other future clients.” Id. at 296.

25   11
       Moreover, even if Davis Law had improperly served P&F with its notice of appearance, which Davis Law does
26   not admit, improper service of court documents leading to an incurable default judgment against a client would
     properly be the subject of a potential professional-negligence action, not a CPA action. See Quinn, 63 Wn. App. at
     742 (professional negligence not entrepreneurial aspect of practice of law).
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     Third-Party Defendant Law Offices of Antoinette M.
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             P&F’s third-party complaint is devoid of factual content demonstrating that Davis Law’s
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     alleged acts affected any entity but P&F – or could affect any other entity. The sole allegation it
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     makes in this regard is that “[t]he conduct affects the public interest because, upon information
 3   and belief, Davis has engaged in the unfair and deceptive acts described on multiple occasions,
 4   and done so as a member of the Washington bar in providing legal services to the public.” Dkt.
 5   # 14 at 22 ¶ 4.6. However, it states no factual allegations supporting that conclusory statement,

 6   other than to allege Davis Law may have allegedly improperly served additional documents in
     the underlying King County action with P&F after P&F had already taken a default.
 7
             “A complaint will not survive a motion to dismiss if it ‘tenders naked assertions devoid
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     of further factual enhancement.’” Blantz, 727 F.3d at 926-27 (citing Iqbal, 556 U.S. at 678)).
 9   The bare assertion that Davis Law, on information and belief, has engaged in the alleged acts on
10   multiple occasions is conclusory, unsupported by any other factual allegations, and insufficient
11   to state a claim against Davis Law. Id. (“Conclusory allegations such as these are insufficient to

12   state a claim against [the defendant].” (citing Iqbal, 556 U.S. at 686)); Chavez, 683 F.3d at 1108
     (citing Iqbal, 556 U.S. at 678). P&F provides no factual assertions that Davis Law has taken
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     these actions with other entities in the past, that it is currently engaging in such conduct with
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     any entities, or that it has a design to do so in the future. Nor does P&F state facts asserting that
15   there is any likelihood that additional plaintiffs have been or will be injured in exactly the same
16   fashion or that such alleged acts were repeated with other entities or are likely to be repeated
17   with other future entities. Behnke, 172 Wn. App. at 293, 295.

18           B.      P&F states no facts or law that provide a basis for declaratory relief.12 P&F
     has stated no facts, rights, or legal relations that entitle it to declaratory relief. The Declaratory
19
     Judgment Act, see 28 U.S.C. §§ 2201-2202, provides in pertinent part:
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             In a case of actual controversy within its jurisdiction . . . , any court of the United States,
21           upon the filing of an appropriate pleading, may declare the rights and other legal
             relations of any interested party seeking such declaration, whether or not further relief is
22           or could be sought.
     28 U.S.C. § 2201 (emphasis added). Whether to grant discretionary relief is vested within the
23
     district court’s discretion. MedImmune v. Genentech, 549 U.S. 118, 136 (2007). A party has no
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26   12
       Contrary to P&F’s claim, Dkt. # 14 at 18 ¶ 2.1, the Declaratory Judgment Act does not independently confer
     subject-matter jurisdiction. Skelly Oil Co. v. Phillips Petrol. Co., 339 U.S. 667, 671 (1950).
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     right to declaratory relief. United States v. Washington, 759 F.2d 1353, 1356 (9th Cir. 1985)
 1
     (citing Zemel v. Rusk, 381 U.S. 1, 19 (1965)).
 2
             Declaratory judgment is a remedy, not a cause of action. Terrell, 2014 U.S. Dist. LEXIS
 3   151291, at *14-15 (citing Bisson v. Bank of Am., 919 F. Supp. 2d 1130, 1139 (W.D. Wash.
 4   2013)). “To obtain declaratory relief, [a p]laintiff must first adequately state an underlying
 5   claim.” Id. at *15 (citing Bisson, 919 F. Supp. 2d at 1139); Bakhchinyan v. Countrywide Bank,

 6   No. C13-2273, 2014 U.S. Dist. LEXIS 46943, at *20 (W.D. Wash. Mar. 27, 2014); Bisson, 919
     F. Supp. 2d at 1139 (“[T]he court cannot grant declaratory relief in the absence of a substantive
 7
     cause of action. If Plaintiffs want the court to determine who their creditors are, they must
 8
     demonstrate that some substantive law gives them a right to know this information.”).
 9           As detailed above, P&F’s CPA claim fails and does not grant it the substantive “rights”
10   P&F seeks, to the extent it even would have had it not failed. Moreover, P&F identifies in its
11   complaint no other substantive law or right requiring that Davis Law not fax “important

12   documents” to California, especially when Davis Law also mailed the documents to the
     Washington office, or requiring that Davis Law mail documents when it states it did so. Dkt. #
13
     14 at 22-23 ¶¶ 5.1-5.3. It certainly alleges no rights or privileges under any of the usual
14
     declaratory-judgment situations, i.e., requesting the court to declare rights or relations under a
15   contract; patent, trademark, or copyright; dispute over construction, enforcement, or validity of
16   an ordinance or statute; or an insurance agreement. As P&F fails to state a substantive right to
17   the relief it requests, Bisson, 919 F. Supp. 2d at 1139, and fails to state sufficient facts to support

18   a cognizable claim, dismissal of its declaratory claims is proper. Mendiondo, 521 F.3d at 1104.
                                                IV. CONCLUSION
19
             P&F fails to set forth sufficient facts to state a plausible CPA or declaratory-relief claim
20
     and fails to identify a cognizable CPA theory. Dismissal is proper.
21
                     DATED this 25th day of November, 2015.
22     FURY DUARTE, PS                                    LAW OFFICES OF VONDA M. SARGENT
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